






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00497-CV






University of Texas System, Appellant


v.



Texas Workers' Compensation Commission and Mario O. Kapusta, M.D., Appellees





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT


NO. GN204598, HONORABLE MARGARET A. COOPER, JUDGE PRESIDING







M E M O R A N D U M   O P I N I O N



	Appellant University of Texas System no longer wishes to pursue its appeal and has
filed a motion to withdraw its appeal.  The University's certificate of conference states that it
conferred with counsel for appellees Texas Workers' Compensation Commission and Mario O.
Kapusta, M.D., who are unopposed to the motion.  We grant the motion and dismiss the appeal. 
Tex. R. App. P. 42.1(a).


					__________________________________________

					Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed on Appellant's Motion

Filed:   September 13, 2005


